Case 2:04-cr-20395-SH|\/| Document 13 Filed 05/12/05 Page 1 of 2 Page|D 11

s~'n.t;‘r) a'.» Bj,, o.r;.

IN THE UNITED sTATEs DIsTRICT COURT rim itt n \_, l o
FoR THE WESTERN DISTRICT oF TENNESSEE ` "' " * 3’ 20
WESTERN DivlsloN

 

UNITED STATES OF AMERICA

v.
04-20395-Ma
MICHAEL GREEN

ORDER ON ARRAIGNMENT

5/'5 15 , the United States Attorney

This cause came to be heard on
and the defendant appeared in person and With

for this district appeared on behalf of the government,
counsel:

NAME 510 VBM-`l who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.
'ng made bond) (being a state prisoner) (being a federal prisoner)

1 g The defendant, (not havl
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

cs.v/';M@aj

UNITED STATESvMAGISTRATE IUDGE

CHARGES: l8:922(g); 21:841',

U. S. Attorney assigned to Case: S. Hall
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:04-CR-20395 Was distributed by faX, mail, or direct printing on
May l2, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

